                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE


UNITED STATES OF AMERICA,                          )
                                                   )
                       Plaintiff,                  )
                                                   )
v.                                                 )             No. 3:07-CR-67
                                                   )             (Jordan / Shirley)
BRYAN CLAIBORNE,                                   )
                                                   )
                       Defendant.                  )


                                MEMORANDUM AND ORDER

               This matter came before the Court upon a Joint Notice [Doc. 23] regarding Defendant

Bryan Claiborne’s detention status. This Court had previously Ordered Mr. Claiborne’s release

pending trial, subject to certain conditions as set forth in the Order Setting Conditions of Release

[Doc. 12]. One condition, as agreed upon by the parties at the time of entry, was that Mr. Claiborne

would voluntarily surrender himself to the custody of the United States Marshal Service upon

demand of the United States Attorney’s Office [Doc. 12 at ¶ v]. The parties have filed Joint Notice

[Doc. 23], informing the Court that Mr. Claiborne has returned to custody pursuant to this condition.

               It is therefore ORDERED that Defendant Bryan Claiborne be detained. Defendant

will be committed to the custody of the Attorney General or his designated representative for

confinement in a correction facility separate to the extent practicable from persons awaiting

sentencing or serving sentences or being held in custody pending appeal. Defendant shall be

afforded a reasonable opportunity for private consultation with defense counsel. Upon order of this

Court or a Court of the United States or upon request of the attorney for the government, the person

in charge of the corrections facility shall deliver Defendant to the United States Marshals for the




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purpose of an appearance in connection with a Court proceeding.

               This Order shall be entered nunc pro tunc August 27, 2007, the date of Mr.

Claiborne’s return to custody.

                      IT IS SO ORDERED.

                                                  ENTER: nunc pro tunc, August 27, 2007.



                                                    s/ C. Clifford Shirley, Jr.
                                                  United States Magistrate Judge




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